 

Case 4:19-cv-02386 Document 76 Filed on 07/01/21 in TXSD Page 1 of 2

Gnited States Court of Appeals

UNITED States DISTRICT COURT

SOUTHERN DISTRICT OF TEXAS for the Sf tfth Circuit nies Senin ones

FILED FILED
JUL - 1 2021 —_ June 9, 2021
| No. 20-20445 Lyle W. Cayce
NATHAN OCHSNER © Clerk

CLERK OF COURT
DIANA GORDON OFFORD,

Plaintiff —Appellant,
versus

CITY OF FULSHEAR,

Defendant — Appellee.

 

Appeal from the United States District Court
for the Southern District of Texas
USDC No. 4:19-CV-2386

 

Before HIGGINBOTHAM, STEWART, and WILSON, Circuit Judges.
JUDGMENT

This cause was considered on the record on appeal and the briefs on
file.

IT IS ORDERED and ADJUDGED that the judgment of the
District Court is AFFIRMED.

IT IS FURTHER ORDERED that plaintiff-appellant pay to
defendant-appellee the costs on appeal to be taxed by the Clerk of this Court.

 

Certified as a true copy and issued
as the mandate on Jul 01, 2021

Attest:
Clerk, U.S. Court of Appeats, Fifth Circuit
 

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United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE TEL. 504-310-7700
CLERK 600 S. MAESTRI PLACE,
Suite 115
NEW ORLEANS, LA 70130

July O1, 2021

Mr. Nathan Ochsner

Southern District of Texas, Houston
United States District Court

515 Rusk Street

Room 5300

Houston, TX 77002

No. 20-20445 Offord v. City of Fulshear
USDC No. 4:19-CV-2386

Dear Mr. Ochsner,

Enclosed is a copy of the judgment issued as the mandate and a
copy of the court’s opinion.

Sincerely,

LYLE W. CAYCE, Clerk

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Rebecca L. Leto, Deputy Clerk
504-310-7703

 

cc: Mr. Diogu Kalu Diogu II
Mr. Ramon Gustave Viada III
